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                 UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF MINNESOTA

In re PORTER ELEVATOR, INC.
                                                    ,
                          Debtor                        Case No. 15-34462

                                                        Chapter 7

                NOTICE OF TRUSTEE’S INTERIM FINAL REPORT AND
                      APPLICATIONS FOR COMPENSATION
                        AND DEADLINE TO OBJECT (NFR)

        Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that Mary Jo
A. Jensen-Carter, trustee of the above styled estate, has filed an Interim Final Report and the
trustee and the trustee’s professionals have filed final fee applications, which are summarized in
the attached Interim Summary of Trustee’s Final Report and Applications for Compensation.

        The complete Interim Final Report and all applications for compensation are available for
inspection at the Office of the Clerk, at the following address:

U.S. Bankruptcy Court           U.S. Bankruptcy Court                   U.S. Bankruptcy Court
300 S. Fourth Street #301       200 Warren E. Burger Federal Bldg       404 U.S. Courthouse
Minneapolis, MN 55415           316 N. Robert Street                    515 W. First Street
                                St. Paul, MN 55101                      Duluth MN 55802

        Any person wishing to object to any fee application that has not already been approved or
to the Interim Final Report, must file a written objection within 21 days from the mailing of this
notice, together with a request for a hearing and serve a copy of both upon the trustee, any party
whose application is being challenged and the United States Trustee. If no objections are filed,
the Court will act on the fee applications and the trustee may pay dividends pursuant to FRBP
3009 without further order of the Court.


Date Mailed: April 1, 2020                   By:     /s/ Mary Jo A. Jensen-Carter
                                                     Chapter 7 Trustee




UST Form 101-7-NFR (9/1/2009)
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                                      UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF MINNESOTA

              In re: PORTER ELEVATOR, INC.                                                           Case No. 15-34462
                                                                                                     Chapter 7
                                                                                             ,
                                          Debtor

                            INTERIM SUMMARY OF TRUSTEE'S FINAL REPORT
                                AND APPLICATIONS FOR COMPENSATION


                      The Interim Final Report shows receipts of                                 $       1,026,660.11

                     and approved disbursements of                                               $         897,048.73
                                                            1
                     leaving a balance on hand of                                                $         129,611.38

                                                          Balance on hand:                                   $              129,611.38
                Claims of secured creditors will be paid as follows:

 Claim          Claimant                                       Claim Allowed Amount Interim Payments                           Proposed
 No.                                                         Asserted       of Claim          to Date                          Payment
   2            STATE BANK OF                             784,442.58             784,442.58                      0.00               0.00
                TAUNTON
   3S           Duane Monke                                 87,086.00             87,086.00                      0.00               0.00
   4S           Wayne Monke                               174,172.00             174,172.00                      0.00               0.00
   24S          LEON VANDEROSTYNE                         120,000.00             120,000.00                      0.00               0.00
   34           First Security Bank - Sleepy            1,884,465.49          1,884,465.49                       0.00               0.00
                Eye
   37           CITY OF PORTER                              15,000.00             15,000.00                      0.00               0.00
                                                          Total to be paid to secured creditors:             $                    0.00
                                                          Remaining balance:                                 $              129,611.38

                Applications for chapter 7 fees and administrative expenses have been filed as follows:
 Reason/Applicant                                                         Total Requested Interim Payments                   Proposed
                                                                                                    to Date                  Payment
Trustee, Fees - Mary Jo A. Jensen-Carter                                          10,672.45                      0.00          10,672.45
Trustee, Expenses - Mary Jo A. Jensen-Carter                                        1,990.34                     0.00           1,990.34
Attorney for Trustee, Fees - BUCKLEY & JENSEN                                     39,322.25                      0.00          39,322.25
Attorney for Trustee, Expenses - BUCKLEY & JENSEN                                        6.00                    0.00               6.00

                 1 The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
   earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
   receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
   account of the disbursement of the additional interest.

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Accountant for Trustee, Fees - DAWN R. DETTLING,                      1,137.50                   0.00        1,137.50
CPA
Auctioneer Fees - FRED W. RADDE & SONS, INC.                          8,250.00             8,250.00              0.00
Auctioneer Expenses - FRED W. RADDE & SONS, INC.                        930.00              930.00               0.00
Charges, U.S. Bankruptcy Court                                          350.00              350.00               0.00
Other Expenses: LEON VANDEROSTYNE                                    15,000.00                   0.00       15,000.00
Accountant for Trustee, Fees - DENNIS E. OBERLOH,                     2,435.59                   0.00        2,435.59
LTD.
                             Total to be paid for chapter 7 administration expenses:         $            70,564.13
                             Remaining balance:                                              $            59,047.25

               Applications for prior chapter fees and administrative expenses have been filed as follows:
Reason/Applicant                                              Total Requested Interim Payments             Proposed
                                                                                        to Date            Payment
                                                       None
                             Total to be paid for prior chapter administrative expenses:     $                 0.00
                             Remaining balance:                                              $            59,047.25

             In addition to the expenses of administration listed above as may be allowed by the
        Court, priority claims totaling $95,652.58 must be paid in advance of any dividend to
        general (unsecured) creditors.
              Allowed priority claims are:
Claim         Claimant                                        Allowed Amount Interim Payments               Proposed
No                                                                   of Claim          to Date              Payment
              IRS                                                       163.52                   0.00            0.00
              IRS                                                        38.24                   0.00            0.00
   3P         Duane Monke                                             6,150.00                   0.00        3,617.52
   4P         Wayne Monke                                             6,150.00                   0.00        3,617.52
   7          DYBSETTER FARMS                                           775.00                   0.00          455.88
   8P         DEPARTMENT OF THE TREASURY                              1,163.40                   0.00            0.00
  11P         Henry Jerzak                                            6,150.00                   0.00        3,617.52
  13          CRAIG PETERSEN                                          5,655.58                   0.00        3,326.70
  17          LEE DOERING                                             2,681.69                   0.00        1,577.42
  18P         Roger Longhenry                                         6,150.00                   0.00        3,617.52
  20P         JAMES W FERGUSON                                        6,150.00                   0.00        3,617.52
  21          BRITTANY MERRITT                                        1,248.41                   0.00          734.34




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 22            BRANDI MERRITT                                          1,248.04                 0.00          734.12
 23            JUSTIN MERRITT                                          1,247.84                 0.00          734.00
 27            Nathanael Rehn                                            467.98                 0.00          275.27
 30            Jerome DeVos                                            1,534.50                 0.00        1,534.50
 31P           GARY VANDEROSTYNE                                       6,150.00                 0.00        3,617.51
 32            RON REGNIER                                             4,952.72                 0.00        2,913.26
 33P           EDDIE CONERS                                            6,150.00                 0.00        3,617.51
 36P           TOM BRIGGS                                              6,150.00                 0.00        3,617.51
 42            Michael A. Verschelde                                   1,102.88                 0.00        1,102.88
 43P           RON BRIGGS                                              6,150.00                 0.00        3,617.51
 45P           Jerome DeVos                                            6,150.00                 0.00        3,617.51
 47            TIM HENTGES                                             5,722.78                 0.00        3,366.22
 50P           KRIST WOLLUM                                            6,150.00                 0.00        3,617.51
                                                 Total to be paid for priority claims:      $            56,547.25
                                                 Remaining balance:                         $             2,500.00
              The actual distribution to wage claimants included above, if any, will be the proposed
        payment less applicable withholding taxes (which will be remitted to the appropriate taxing
        authorities).

            Timely claims of general (unsecured) creditors totaling $ 1,970,277.10 have been allowed and
        will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
        The timely allowed general (unsecured) dividend is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Timely allowed general (unsecured) claims are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments              Proposed
No                                                                   of Claim          to Date             Payment
  1            U.S. Bank, N.A. d/b/a U.S. Bank Equipment              65,701.34                 0.00              0.00
               Finance
  3U           Duane Monke                                          441,331.00                  0.00              0.00
  4U           Wayne Monke                                          888,812.00                  0.00              0.00
  5            PRAIRIE FEEDS & TRUCKING LLC                           32,285.49                 0.00              0.00
  6            Western Consolidated Cooperative                        5,514.83                 0.00              0.00
  8U           DEPARTMENT OF THE TREASURY                                444.35                 0.00              0.00
  9            MUHL FARMS TRUCKING                                     3,140.00                 0.00              0.00
 11U           Henry Jerzak                                           11,795.56                 0.00              0.00
 12            SOUTHERN MINNESOTA                                        919.14                 0.00              0.00




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               CONSTRUCTION
 14            OLSON SANITATION                                          531.27               0.00            0.00
 15            OTTER TAIL POWER CO                                  16,216.49                 0.00            0.00
 18U           Roger Longhenry                                      60,738.30                 0.00            0.00
 19            WESTWAY FEED PRODUCTS LLC                              2,864.67                0.00            0.00
 20U           JAMES W FERGUSON                                     33,320.27                 0.00            0.00
 24U           LEON VANDEROSTYNE                                    70,709.08                 0.00            0.00
 26            Western Equipment Finance, Inc.                      28,912.88                 0.00            0.00
 28            VLAMINCK ELECTRIC                                      7,794.18                0.00            0.00
 31U           GARY VANDEROSTYNE                                    15,000.00                 0.00            0.00
 33U           EDDIE CONERS                                           4,066.57                0.00            0.00
 35            Frontier Communications                                   149.94               0.00            0.00
 36U           TOM BRIGGS                                                934.31               0.00            0.00
 38            AL SHEIK TRUCKING                                      2,342.11                0.00            0.00
 39            PENN MILLERS INSURANCE COMPANY                       20,368.73                 0.00            0.00
 40            PENN MILLERS INSURANCE COMPANY                         6,228.50                0.00            0.00
 43U           RON BRIGGS                                           19,565.17                 0.00            0.00
 45U           Jerome DeVos                                              590.92               0.00            0.00
 46            UNITED FIRE & CASUALTY CO                           230,000.00                 0.00            0.00
                            Total to be paid for timely general unsecured claims:         $                 0.00
                            Remaining balance:                                            $             2,500.00


            Tardily filed claims of general (unsecured) creditors totaling $ 158,807.79 have been
        allowed and will be paid pro rata only after all allowed administrative, priority and timely filed
        general (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated
        to be 0.0 percent, plus interest (if applicable).

              Tardily filed general (unsecured) claims are as follows:
Claim          Claimant                                      Allowed Amount Interim Payments             Proposed
No                                                                  of Claim          to Date            Payment
 48            INDEPENDENT OIL                                      60,447.27                 0.00            0.00
 49            NEW VISION                                             9,787.65                0.00            0.00
 50U           KRIST WOLLUM                                         88,572.87                 0.00            0.00
                            Total to be paid for tardy general unsecured claims:          $                 0.00
                            Remaining balance:                                            $             2,500.00




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             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
        ordered subordinated by the Court totaling $ 0.00 have been allowed and will be paid
        pro rata only after all allowed administrative, priority and general (unsecured) claims have been paid
        in full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
        ordered subordinated by the Court are as follows:
Claim          Claimant                                           Allowed Amount Interim Payments               Proposed
No                                                                       of Claim          to Date              Payment
                                                           None
                                                    Total to be paid for subordinated claims: $                     0.00
                                                    Remaining balance:                        $                 2,500.00




                                                Prepared By: /s/Mary Jo A. Jensen-Carter
                                                                                     Trustee

             Mary Jo A. Jensen-Carter
             1257 Gun Club Road
             White Bear Lake, MN 55110
             (651) 486-7475



             STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
             Act exemption 5 C.F.R. §1320.4(a)(2) applies.




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                                   UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF MINNESOTA

IN RE: PORTER ELEVATOR, INC                                     CASE NO: 15-34462
                                                                DECLARATION OF MAILING
                                                                CERTIFICATE OF SERVICE
                                                                Chapter: 7




On 4/1/2020, I did cause a copy of the following documents, described below,
Notice of trustee's INTERIM final report and applications for compensation




to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com,
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to Fed.R.
Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.
Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been served
electronically with the documents described herein per the ECF/PACER system.
DATED: 4/1/2020
                                                          /s/ Mary Jo A. Jensen-Carter
                                                          Mary Jo A. Jensen-Carter 186041
                                                          Chapter 7 Trustee
                                                          1257 Gun Club Road
                                                          White Bear Lake, MN 55110
                                                          651 486 7475
                Case 15-34462           Doc 134        Filed 04/01/20 Entered 04/01/20 10:46:06                       Desc Main
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                                        UNITED STATES BANKRUPTCY COURT
                                             DISTRICT OF MINNESOTA

 IN RE: PORTER ELEVATOR, INC                                            CASE NO: 15-34462

                                                                        CERTIFICATE OF SERVICE
                                                                        DECLARATION OF MAILING
                                                                        Chapter: 7




On 4/1/2020, a copy of the following documents, described below,

Notice of trustee's INTERIM final report and applications for compensation




were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient postage thereon
to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if fully set forth herein.

The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above referenced document
(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of Service and that it is true and correct to
the best of my knowledge, information, and belief.

DATED: 4/1/2020




                                                                            Jay S. Jump
                                                                            BK Attorney Services, LLC
                                                                            d/b/a certificateofservice.com, for
                                                                            Mary Jo A. Jensen-Carter
                                                                            Chapter 7 Trustee
                                                                            1257 Gun Club Road
                                                                            White Bear Lake, MN 55110
            Case 15-34462
PARTIES DESIGNATED              Doc NOT
                   AS "EXCLUDE" WERE 134SERVED
                                            Filed
                                                VIA04/01/20
                                                    USPS FIRST Entered
                                                               CLASS MAIL04/01/20 10:46:06     Desc Main
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM
                                             Document       Page 9 of 16
CASE INFO                                BUCKLEY JENSEN                           FIRST SECURITY BANKDOVE
1LABEL MATRIX FOR LOCAL NOTICING         1257 GUN CLUB ROAD                       FIRST SECURITY BANK
08643                                    WHITE BEAR LAKE MN 55110-3379            100 EAST MAIN STREET
CASE 15-34462                                                                     SLEEPY EYE MN 56085-1353
DISTRICT OF MINNESOTA
ST PAUL
WED APR 1 10-28-44 CDT 2020



FRED W RADDE SONS INC                    FIRST SECURITY BANK LURKEN               HUNTINGTON NATIONAL BANK
5545 COUNTY ROAD 33                      100 EAST MAIN STREET                     CO STEWART ZLIMEN JUNGERS
NEW GERMANY MN 55367-9525                SLEEPY EYE MN 56085-1353                 2277 HIGHWAY 36 WEST 100
                                                                                  ROSEVILLE MN 55113-3896




                                         DEBTOR
MINNWEST BANK                                                                     PEMBERTON SORLIE RUFER KERSHNER PLLP
MARSHALL                                 PORTER ELEVATOR INC                      110 N MILL ST
301 BASELINE ROAD                        104 PRAIRIE AVENUE SOUTH                 FERGUS FALLS MN 56537-2135
MARSHALL MN 56258-9255                   PORTER MN 56280-3700




STERMER SELLNER CHTD                     US BANK NATIONAL ASSOCIATION             UNITED STATES DEPARTMENT OF
PO BOX 514                               CO STEIN MOORE PA                        AGRICULTURE
102 PARKWAY DRIVE                        332 MINNESOTA STREET                     U S ATTORNEYS OFFICE
MONTEVIDEO MN 56265-1427                 SUITE W-1650                             CO ROYLENE A CHAMPEAUX
                                         ST PAUL MN 55101-1336                    300 SO 4TH STREET
                                                                                  600 U S COURTHOUSE
                                                                                  MINNEAPOLIS MN 55415


                                                                                  EXCLUDE
WATTS GUERRA LLP                         WESTERN EQUIPMENT FINANCE INC
4 DOMINION DR                            PO BOX 640                               ST PAUL
BLDG 3 STE 100                           DEVILS LAKE ND 58301-0640                200 WARREN E BURGER FEDERAL BUILDING
SAN ANTONIO TX 78257-1391                                                         AND
                                                                                  US COURTHOUSE
                                                                                  316 N ROBERT ST
                                                                                  ST PAUL MN 55101-1465



ADAM POPOWSKI                            AGRICHARTS                               AL SHEIK TRUCKING
3064 230TH AVENUE                        209 W JACKSON 2ND FL                     2822 COUNTY ROAD 5
IVANHOE MN 56142-4027                    CHICAGO IL 60606-6802                    IVANHOE MN 56142-9594




ANDY PEHRSON                             ASHLEY MAMER                             BILL BRIGGS
1024 295TH AVENUE                        2124 250TH STREET                        2141 HIGHWAY 68
BOYD MN 56218-4428                       PORTER MN 56280-1695                     CANBY MN 56220-2003




BOB POLEJEWSKI                           BRAD MILLER                              BRAD NOYES
3621 COUNTY ROAD 55                      1735 250TH STREET                        1863 270TH STREET
TAUNTON MN 56291-1133                    PORTER MN 56280-1691                     PORTER MN 56280-1640




BRANDI MERRITT                           BREMER INSURANCE AGENCIES INC            BRIAN HOFFMAN
2465 190TH AVENUE                        633 S CONCORD ST STE 225                 2622 200TH AVENUE
PORTER MN 56280-1641                     PO BOX 198                               PORTER MN 56280-1645
                                         SOUTH SAINT PAUL MN 55075-2465
            Case 15-34462
PARTIES DESIGNATED              Doc NOT
                   AS "EXCLUDE" WERE 134SERVED
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                                                               CLASS MAIL04/01/20 10:46:06     Desc Main
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM
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BRIAN MAMER                              BRITTANY MERRITT                         BRUCE RICHTER
2124 250TH STREET                        2465 190TH AVENUE                        12819 480TH AVENUE
PORTER MN 56280-1695                     PORTER MN 56280-1641                     DONNELLY MN 56235-1068




BRUCE TETRICK                            BRUCE TETRICK                            CAMDEN INSURANCE AGENCY LLC
1545 DICKSON DRIVE                       PO BOX 214                               BLDG 100 SUITE 4
HENDRICKS MN 56136-4100                  MINNEOTA MN 56264-0214                   408 E MAIN STREET
                                                                                  MARSHALL MN 56258-2664




CAPITAL ONE CARD SERVICES                CHUCK HOFFMAN                            CITY OF PORTER
DEPT 9600                                1875 260TH STREET                        PO BOX 130
CAROL STREAM IL 60128-9600               PORTER MN 56280-1656                     PORTER MN 56280-0130




CO PRODUCTS                              COREY HOFFMAN                            CULLIGAN OF MARSHALL
PO BOX 299                               2619 200TH AVENUE                        PO BOX 480
MILFORD IA 51351-0299                    PORTER MN 56280-1645                     MARSHALL MN 56258-0480




DAIRYLAND LABORATORIES INC               DAN VANDEROSTYNE                         DAVE HENTGES
217 EAST MAIN ST                         3824 230TH AVENUE                        106 1ST STREET E
ARCADIA WI 54612-1319                    PORTER MN 56280                          CANBY MN 56220-1343




DAVID BOULTON                            DAVID DRIETZ                             DAVID FIER
2632 STATE HIGHWAY 68                    2269 COUNTY HIGHWAY 18                   2744 360TH AVENUE
PORTER MN 56280-3005                     PORTER MN 56280-3027                     TAUNTON MN 56291-3020




DENNIS OBERLOH                           DEPARTMENT OF EMPLOYMENT AND             INTERNAL REVENUE SERVICE
PO BOX 186                               ECONOMIC DEVELOPMENT                     CENTRALIZED INSOLVENCY OPERATIONS
REDWOOD FALLS MN 56283-0186              332 MINNESOTA ST STE E200                PO BOX 7346
                                         ST PAUL MN 55101-1351                    PHILADELPHIA PA 19101-7346




DEREK STOKS                              DOUG ANDERSON                            DOUG JERZAK
3878 170TH AVENUE                        2536 160TH AVENUE                        117 NORTH REBECCA STREET
CANBY MN 56220-2702                      PORTER MN 56280-1600                     IVANHOE MN 56142-9651




DWAYNE AND JOYCE EVANS                   DYBSETTER FARMS                          DUANE MONKE
2121 260TH STREET                        2501 170TH AVENUE                        2130 230TH AVE
IVANHOE MN 56142-4077                    PORTER MN 56280-1686                     CANBY MN 56220-2032
            Case 15-34462
PARTIES DESIGNATED              Doc NOT
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                                                    USPS FIRST Entered
                                                               CLASS MAIL04/01/20 10:46:06     Desc Main
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM
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EAST CENTRAL GRAIN MARKETING             EDDIE CONERS                             EVELYN LUNDGREN
INC                                      3928 150TH AVENUE                        2651 HIGHWAY 67
2008 ESSEX RD                            CANBY MN 56220-2701                      CANBY MN 56220-4095
HOPKINS MN 55305-2247




FARM RITE EQUIPMENT                      FIERVIEW DAIRY                           FIRST SECURITY BANK
PO BOX 1341                              3534 COUNTY HIGHWAY 8                    PO BOX 469
WILLMAR MN 56201-1341                    TAUNTON MN 56291-3021                    SLEEPY EYE MN 56085-0469




FORD MOTOR CREDIT                        FORM A FEED                              FRONTIER COMMUNICATIONS
PO BOX 552679                            740 BOWMAN ST                            BANKRUPTCY DEPT
DETROIT MI 48255-2679                    PO BOX 9                                 19 JOHN STREET
                                         STEWART MN 55385-0009                    MIDDLETOWN NY 10940-4918




FIRST SECURITY BANK   SLEEPY EYE         GARY VANDEROSTYNE                        GARY VANOVERBEKE
100 E MAIN ST                            3895 220TH AVENUE                        2582 STATE HIGHWAY 19
PO BOX 469                               PORTER MN 56280-3015                     IVANHOE MN 56142-4072
SLEEPY EYE MN 56085-0469




GENE VANDYKE                             GENE ZINTER                              GERALD VANDEROSTYNE
48232 185TH STREET                       2315 110TH STREET                        3934 US HIGHWAY 75
GARY SD 57237-5511                       CANBY MN 56220-3628                      CANBY MN 56220-2601




GARY VANOVERBEKE                         GREG J BUCHER                            GREG J BUCHER
2582 STATE HWY 19                        300 SOUTH O                              STONEBERG GILES STROUP PA
IVANHOE MN 56142-4072                    MARSHALL MN 56258                        300 SOUTH O
                                                                                  MARSHALL MN 56258




HARLAN ESPING                            HASLER                                   HENRY JERZAK
3836 250TH AVENUE                        PO BOX 3808                              3821 250TH AVENUE
PORTER MN 56280-3037                     MILFORD CT 06460-8708                    PORTER MN 56280-3037




HOFFMAN BUILDERS INC                     HUNTINGTON NATIONAL BANK                 INDEPENDENT OIL
1304 N ST OLAF AVE                       41 S HIGH STREET HC0729                  106 1ST ST EAST
CANBY MN 56220-1141                      COLUMBUS OH 43215-6170                   CANBY MN 56220-1343




INTERNAL REVENUE SERVICE                 IVAN ANDERSON                            JACOB TETRICK
PO BOX 7346                              2159 390TH STREET                        PO BOX 116
PHILADELPHIA PA 19101-7346               PORTER MN 56280-3013                     PORTER MN 56280-0116
            Case 15-34462
PARTIES DESIGNATED              Doc NOT
                   AS "EXCLUDE" WERE 134SERVED
                                            Filed
                                                VIA04/01/20
                                                    USPS FIRST Entered
                                                               CLASS MAIL04/01/20 10:46:06     Desc Main
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM
                                            Document       Page 12 of 16
JACQUELYN PAULSEN                        JAMES KNOFF                              JAMES STELLMACH
510 LAC QUI PARLE AVENUE                 202 S REBECCA STREET                     2168 COUNTY HIGHWAY 17
CANBY MN 56220-1108                      IVANHOE MN 56142-9601                    IVANHOE MN 56142-4005




JAMES W FERGUSON                         JEROME DEVOS                             JEROME JERZAK
2650 190TH ST                            309 2ND STREET W                         2873 COUNTY HIGHWAY 5
CANBY MN 56220-3357                      CANBY MN 56220-1203                      IVANHOE MN 56142-4021




JESSE CITTERMAN                          JIM FERGUSON                             JIM PEHRSON
PO BOX 8                                 2650 190TH STREET                        2722 100TH STREET
TAUNTON MN 56291-0008                    CANBY MN 56220-3357                      DAWSON MN 56232-4141




JIM VANDEROSTYNE                         JOHN LALEMAN                             JOHN POPOWSKI
3284 230TH AVENUE                        3071 COUNTY HIGHWAY 5                    2028 330TH STREET
PORTER MN 56280                          IVANHOE MN 56142-4024                    IVANHOE MN 56142-4052




JUSTIN MERRITT                           JEROME DEVOS                             K R FARMS
2465 190TH AVENUE                        309 2ND ST WEST                          2961 250TH AVENUE
PORTER MN 56280-1641                     CANBY MN 56220-1203                      CANBY MN 56220-4002




KAYLA VANDEROSTYNE                       KEN MUHL                                 KEVIN BANKS
3284 230TH AVENUE                        1234 380TH STREET                        1702 COUNTY RD 4
PORTER MN 56280                          TAUNTON MN 56291-1132                    LYND MN 56157-1109




KEVIN SWEDZINSKI                         KRIST WOLLUM                             LAC QUI PARLE CO OP OIL
2792 360TH STREET                        3912 COUNTY ROAD 109                     536 OAK
TAUNTON MN 56291-3020                    PORTER MN 56280-3011                     PO BOX 350
                                                                                  DAWSON MN 56232-0350




LARRY DYBSETTER                          LARRY STERZINGER                         LEE DOERING
115 SUNRISE AVENUE                       2675 220TH AVENUE                        4403 PIONEER RD SE APT 314
PORTER MN 56280-9765                     IVANHOE MN 56142-4111                    ALEXANDRIA MN 56308-9226




LEON VANDEROSTYNE                        MARI JOHNSON                             MARK PESEK
PO BOX 96                                820 BECKER AVENUE SW                     2794 160TH AVENUE
PORTER MN 56280-0096                     WILLMAR MN 56201-3153                    PORTER MN 56280-1610
            Case 15-34462
PARTIES DESIGNATED              Doc NOT
                   AS "EXCLUDE" WERE 134SERVED
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                                                VIA04/01/20
                                                    USPS FIRST Entered
                                                               CLASS MAIL04/01/20 10:46:06     Desc Main
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                                            Document       Page 13 of 16
MARTIN POPOWSKI                          MICHAEL DOVE                             MIKE DRIETZ
3145 230TH AVENUE                        GISLASON HUNTER LLP                      3627 170TH AVENUE
IVANHOE MN 56142-4026                    PO BOX 458                               CANBY MN 56220-2635
                                         NEW ULM MN 56073-0458




MIKE FIER                                MIKE VERSCHELDE                          MINNESOTA CORN COUNCIL
202 N EISENHOWER STREET                  PO BOX 226                               PO BOX 236
MINNEOTA MN 56264-1359                   IVANHOE MN 56142-0226                    BLUE EARTH MN 56013-0236




MINNESOTA DEPARTMENT OF                  MINNESOTA DEPT OF AGRICULTURE            MINNESOTA FEEDS
REVENUE                                  625 ROBERT STREET N                      PO BOX 180
PO BOX 64439                             SAINT PAUL MN 55155-2538                 GRANITE FALLS MN 56241-0180
SAINT PAUL MN 55164-0439




MINNESOTA MASCOT                         MINNESOTA PEST CONTROL                   MINNESOTA SOYBEAN COUNCIL
PO BOX 9                                 114 S BROOK ST                           PO BOX 3385
MINNEOTA MN 56264-0009                   PO BOX 52                                MANKATO MN 56002-3385
                                         HENDRICKS MN 56136-0052




MINNESOTA UNEMPLOYMENT                   MINNESOTA UNEMPLOYMENT                   MINNESOTA WHEAT COUNCIL
INSURANCE                                INSURANCE                                2600 WHEAT DR
332 MINNESOTA ST STE E200                PO BOX 64621                             RED LAKE FALLS MN 56750-4813
SAINT PAUL MN 55101-1351                 SAINT PAUL MN 55164-0621




MINNWEST BANK                            MUHL FARMS TRUCKING                      MICHAEL A VERSCHELDE
301 BASELINE RD                          1400 COUNTY RD 10                        PO BOX 226
MARSHALL MN 56258-9255                   MINNEOTA MN 56264-1351                   IVANHOE MN 56142-0226




NANCY DEVOS                              NATHANAEL REHN                           NEOPOST USA INC
309 2ND STREET W                         10820 DYSART RD                          25880 NETWORK PLACE
CANBY MN 56220-1203                      WATERLOO IA 50701-9504                   CHICAGO IL 60673-1258




NEW VISION                               OLSON SANITATION                         OTTER TAIL POWER CO
38438 210TH ST                           PO BOX 689                               215 CASCADE ST
BREWSTER MN 56119-2017                   DAWSON MN 56232-0689                     ATTN CASH MGMT
                                                                                  FERGUS FALLS MN 56537-2897




OTTER TAIL POWER CO                      PAUL DILLON                              PAUL NELSON
PO BOX 570                               3864 COUNTY HIGHWAY 7                    1635 180TH STREET
MORRIS MN 56267-0570                     PORTER MN 56280-3033                     CANBY MN 56220-2059
            Case 15-34462
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PENN MILLERS INSURANCE CO                PRAIRIE FEEDS TRUCKING LLC               PENN MILLERS INS CO CO ROBERT M TURRIN
436 WALNUT ST                            PO BOX 299                               436 WALNUT STREET WA04K
PHILADELPHIA PA 19106-3703               MILFORD IA 51351-0299                    PHILADELPHIA PA 19106-3703




PENN MILLERS INSURANCE COMPANY CO        RANDY NOBLE                              RH TRUCKING
ROBERT M                                 2508 220TH STREET                        3569 CO HWY 5
436 WALNUT STREET WA04K                  ARCO MN 56113-4016                       PORTER MN 56280-3042
PHILADELPHIA PA 19106-3703




RICHARD BUYSSE                           RICHARD NUYTTEN                          RICHARD PESEK
3805 COUNTY RD 3                         102 5TH STREET                           1943 290TH STREET
MINNEOTA MN 56264-1143                   MINNEOTA MN 56264                        TAUNTON MN 56291-1835




RICK PESCH                               ROBERT BUELTEL                           ROBERT PEHRSON
PO BOX 314                               1839 290TH STREET N                      3067 120TH STREET
TAUNTON MN 56291-0314                    TAUNTON MN 56291-1830                    DAWSON MN 56232-4147




ROGER BROGAARD                           ROGER LONGHENRY                          RON BRIGGS
2406 220TH AVENUE                        3830 250TH AVENUE                        2050 210TH STREET
CANBY MN 56220-2056                      PORTER MN 56280-3037                     CANBY MN 56220-2072




RON REGNIER                              ROST FARMS                               RUNNINGS
1962 200TH ST                            2986 250TH AVENUE                        901 HIGHWAY 59 N
CANBY MN 56220-2044                      IVANHOE MN 56142-4039                    MARSHALL MN 56258-2744




RYAN WESTPHAL                            S K FARMS                                SARA SOVELL UMBERGER
2258 210TH AVENUE                        3878 170TH AVENUE                        132 TWIN OAKS LANE
CANBY MN 56220-2047                      CANBY MN 56220-2702                      BROOKINGS SD 57006-7270




SCOTT BAUNE                              SCOTT POPOWSKI                           SCOTT VERHELST
2161 260TH STREET                        3150 COUNTY HIGHWAY 5                    23371 190TH STREET
MARSHALL MN 56258-5455                   IVANHOE MN 56142-4025                    CANBY MN 56220




SHIRLEY PETERSEN                         SMI HYDRAULICS                           SOUTHERN MINNESOTA
1656 270TH STREET                        401 LONE TREE                            CONSTRUCTION
PORTER MN 56280-1605                     PO BOX 95                                1905 THIRD AVENUE
                                         PORTER MN 56280-0095                     MANKATO MN 56001-2802
            Case 15-34462
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                                            Document       Page 15 of 16
SOUTHERN MINNESOTA CONSTRUCTION          STATE BANK OF TAUNTON                    STEVE CITTERMAN
1905 3RD AVE                             PO BOX 398                               1943 COUNTY HIGHWAY 17
MANKATO MN 56001-2802                    TAUNTON MN 56291-0398                    IVANHOE MN 56142-4007




THOMAS LACEK                             TIM HENTGES                              TODD MERRITT
806 RING AVENUE N                        2102 200TH STREET                        2465 190TH AVENUE
CANBY MN 56220-1070                      CANBY MN 56220-2005                      PORTER MN 56280-1641




TOM BRIGGS                               TOM FRENSKO                              TOM SWEDZINSKI
2272 200TH AVENUE                        2878 190TH AVENUE                        2664 STATE HIGHWAY 68
PORTER MN 56280-1626                     IVANHOE MN 56142-4303                    PORTER MN 56280-3005




US BANK NA DBA US BANK EQUIPMENT FI      UNITED FIRE CASUALTY CO                  UNITED FIRE GROUP
1310 MADRID STREET                       GREGERSON ROSOW JOHNSON NILAN LTD        118 SECOND AVE SE
MARSHALL MN 56258-4099                   100 WASHINGTON AVE S STE 1550            PO BOX 73909
                                         MPLS MN 55401-2154                       CEDAR RAPIDS IA 52407-3909




                                                                                  EXCLUDE
UPPER MINNESOTA VALLEY                   US DEPARTMENT OF AGRICULTURE
REGIONAL DEVELOPMENT COM                 ATTN NED BERGMAN                         US TRUSTEE
323 W SCHLIEMAN AVE                      6501 BEACON DRIVE                        1015 US COURTHOUSE
APPLETON MN 56208-1278                   KANSAS CITY MO 64133-4675                300 S 4TH ST
                                                                                  MINNEAPOLIS MN 55415-3070




VELVA KNUTSON                            VIOLET JENSEN                            VLAMINCK ELECTRIC
356 2ND STREET                           PO BOX 142                               505 MAPLE
DAWSON MN 56232-2116                     MILAN MN 56262-0142                      PO BOX 34
                                                                                  PORTER MN 56280-0034




WAYNE DUANE MONKE                        WAYNE AND GWEN PEDERSON                  WENDY STERZINGER
2130 230TH AVENUE                        2085 200TH AVENUE                        2455 HENRY DRIVE
CANBY MN 56220-2032                      CANBY MN 56220-2067                      IVANHOE MN 56142-4223




WESTERN CONSOLIDATED                     WESTERN EQUIPMENT FINANCE                WESTWAY FEED PRODUCTS LLC
BOX 78                                   503 HIGHWAY 2 WEST                       23623 NETWORK PLACE
HOLLOWAY MN 56249-0078                   PO BOX 640                               CHICAGO IL 60673-1236
                                         DEVILS LAKE ND 58301-0640




WESTWAY FEED PRODUCTS LLC                WOOD AND CONN                            WAYNE MONKE
DAVID WRIGHT                             PO BOX 187                               2130 230TH AVE
365 CANAL ST STE 2929                    REDWOOD FALLS MN 56283-0187              CANBY MN 56220-2032
NEW ORLEANS LA 70130-1165
            Case 15-34462
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WESTERN CONSOLIDATED COOPERATIVE         WESTERN EQUIPMENT FINANCE INC            DAWN DETTLING
520 CO RD 9                              CO JON R BRAKKE                          215 YORK ST N
HOLLOWAY MN 56249-4000                   VOGEL LAW FIRM                           CANNON FALLS MN 55009-1841
                                         PO BOX 1389
                                         FARGO ND 58107-1389




DENNIS OBERLOH                           DANIEL M HOMOLKA                         DUANE MONKE
PO BOX 186                               6400 TIMBER RIDGE                        2130 20TH AVENUE
530 WEST PARK RD                         EDINA MN 55439-1057                      CANBY MN 56220
REDWOOD FALLS MN 56283-1431




GERALD VANDEROSTYNE                      HENRY JERZAK                             JAMES VANDEROSTYNE
3934 US HWY 75                           380 250 OSNE                             309 2ND ST W
CANBY MN 56220-2601                      PORTER MN 56280                          CANBY MN 56220-1203




EXCLUDE                                  MICHAEL F MCGRATH                        WILLIAM BRIGGS
MARY JO A JENSEN CARTER                  RAVICH MEYER KIRKMAN MCGRATH NAUMAN      2141 HWY 68
BUCKLEY JENSEN                           150 SOUTH FIFTH STREET                   CANBY MN 56220-2003
1257 GUN CLUB ROAD                       SUITE 3450
WHITE BEAR LAKE MN 55110-3379            MINNEAPOLIS MN 55402-5311
